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 5
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 6   Samuel Kelsall V
                               UNITED STATES BANKRUPTCY COURT
 7
                                SOUTHERN DISTRICT OF CALIFORNIA
 8
     In re:                                             Case No.: 23 -01962-MM7
 9
     SAMUEL KELSALL V,                                  Adversary Proceeding No.: 23-90064-MM
10
               Debtor,
                                                        CROSS-COMPLAINT FOR:
11
                                                        1. FRAUD (SAMUEL KELSALL V
12   WILLIAM J. FREED, APC, aka WILLIAM J.              AGAINST ALL CROSS-DEFENDANTS);
13
     FREED
14                                                      2. INTENTIONAL
               Plaintiff                                MISREPRESENTATION;
15
     vs.                                                3. NEGLIGENT MISREPRESENTATION;
16
     SAMUEL KELSALL, V                                  4. CONCEALMENT (SAMUEL KELSALL
17
                                                        V AGAINST ALL CROSS-DEFENDANTS);
18             Defendant.
                                                        5. UNLAWFUL AND UNFAIR BUSINESS
19   SAMUEL KELSALL V                                   PRACTICES;
20   Cross-Complainant
                                                        7. BREACH OF COVENANT OF GOOD
21   vs.                                                FAITH AND FAIR DEALING;

22   WILLIAM J. FREED, an individual, WILLIAM           8. INTERFERENCE WITH
     J. FREED, a professional corporation, dba          PROSPECTIVE ECONOMIC
23                                                      ADVANTAGE;
     Walwick & Freed, and DOES 1 through 10,
24   inclusive,

25   Cross-Defendants

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                                             1 - CROSS-COMPLAINT
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 1          Defendants and Cross-Plaintiff, SAMUEL KELSALL V, hereby brings this cross-complaint
 2   against WILLIAM J. FREED, an individual, WILLIAM J. FREED, A PROFESSIONAL COMP ANY,
 3   dba Walwick & Freed, and allege as follows:
 4                                                 THE PARTIES
 5           1.     Cross-Plaintiff, Samuel Kelsall V ("Kelsall") is an individual who resides in San Diego
 6   County, California.
 7          2.      Upon infmmation and belief, Cross-Defendant, William J. Freed ("Freed") is an individual
 8   who resides in San Diego County, California.
 9          ,.,     Upon information and belief, Cross-Defendant, William J. Freed, A Professional
            .) .


10   Corporation, dba Walwick & Freed ("WJF Corp), is a California corporation that has its principle place
11   of business in San Diego County, California.
12          4.      Upon infmmation and belief, Freed is the president, sole director, sole officer, and owner
13   ofWJF Corp.
14          5.      Freed and WJF Corp will collectively be refe1Ted to hereinafter as "FREED ."
15                                                JURISDICTION
16          6.      This adversary proceeding is brought in connection with the underlying Chapter 7
17   bankruptcy, Case No. 23-01962-MM7, which Samuel Kelsall V filed on July 4, 2023 under Chapter 7 of
18   the Bankruptcy Code (11 U.S.C. § 101 et seq.) This Court has jurisdiction pursuant to 28 U.S .C. section
19   1334 and General Order No. 312-E (entered 11/27/2013) of the United States District Court for the
20   Southern District of California. This is a core proceeding pursuant to 28 U.S .C. § 157(b)(2)(1).
21                                                      VENUE
22          7.      Venue for this action is proper pursuant to 28 U.S.C. § 1409 in that it arises from or relates

23   to the underlying bankruptcy case filed by the Defendant under Chapter 7 of the Bankruptcy Code with

24   the United States Bankruptcy Comt for the Southern District of California. This Court has jurisdiction

25   over all causes of action asserted herein pursuant to California Constitution, A1ticle VI, Sec 10, because

26   this case is a cause not given by statute to other trial comts.
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                                                2 - CROSS-COMPLAINT
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 1                                            FACTUAL ALLEGATIONS
 2           8.        CROSS-PLAINTIFF re-alleges by reference, all of the above paragraphs.
 3           9.        Kelsall first saw FREED' S law practice for sale via a posting on Craig's List in 2018. That
 4   solicitation was instituted by FREED.
 5           10.       Kelsall met with FREED, in person, no less than five or six times and engaged in active
 6   negotiations for the purchase of Freed' s legal practice, known at the time as "Wal wick and Freed."
 7           11.       During the active negotiations, Freed represented to CROSS-PLAINTIFF that he was
 8   retiring from the practice of law in California and was moving to Ohio to live and practice law there.
 9           12.       Kelsall relied upon this representation, that was made by FREED in the Summer and Fall
10   of 2018 , when he decided to purchase FREED's law practice and building.
11           13.       Freed insisted that Kelsall purchase both the practice and the building, located at 815 Civic
12   Center Drive, Oceanside, CA. ("BUILDING"), in which FREED used as an office. FREED relayed to
13   Kelsall that it was a "all or nothing deal."
14           14.       Freed represented that the BUILDING was a requirement and imperative to the sale of the
15   legal practice because the BUILDING was where he saw all his clients and that his clients were already
16   familiar with the BUILDING, whereby the BUILDING would generate more business for CROSS-
17   PLAINTIFF because it would make continual contacts with FREED clients easier.
18           15.       FREED represented to Kelsall that he wanted to sell the BUILDING because he had
19   already entered into escrow for the purchase of a building in Ohio and needed the funds from the sale of
20   the BUILDING to close on the transaction in Ohio .
21           16.       FREED'S motivation to take the actions and failures to act were related to his desire to
22   purchase the office building in Ohio.
23           17.       KLS and WJF Corp entered into an "Asset Purchase and Sale Agreement"
24   ("AGREEMENT") on August 16, 2018 for KLS to purchase FREED'S law practice. The AGREEMENT
25   includes the following provision in Section 1:
26                Sale and Purchase of Assets . ... Buyer hereby purchases all of Seller's California

27                law practice, all tangible and intangible prope1iies in the Oceanside office and storage

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 1                areas, including all unknown and contingent rights, Seller' s company's, goodwill,
 2                fictious business name, intangibles, mailing lists, telephone numbers, client files
 3                (except for the files of family, friends and ongoing matters specifically identified in
 4                Exhibit A, and all other assets as used in Seller' s business, and a complete and accurate
 5                list of all of such assets is contained and listed in Exhibit A attached hereto and
 6                incorporated herein by this reference .... (Emphasis added)
 7              18.     During the course of the negotiations, FREED p01irayed to Kelsall and KLS that FREED ' S
 8   law firm had legal services agreements with at least three thousand five hundred (3,500) clients.
 9              19.     The AGREEMENT has the following provision in Section 3(1)(1):
10                Purchase of the practice is to include: all client files (approximately 3,500 matters
11                including over 2,000 will and trust matters), except ongoing cases for family and close
12                friends of Seller which shall be retained by Seller and a list provided to Buyer .. .in the
13                event that less than 2,000 client files are transferred to Buyer, then Buyer and Seller
14                will negotiate in good faith a purchase price adjustment if appropriate ...
15              20.     In truth, FREED ' S client list consisted of, less than One Thousand Six Hundred (1 ,600)
16   Wills and Trust clients and less than Two Thousand (2,000) clients overall, that were actually transferred
17   to CROSS-PLAINTIFFS . In fact, numerous persons on FREED'S "client mailing list" were not even
18   clients.
19              21.     The client list that FREED supplied Kelsall and KLS contained numerous persons that had
20   already died, persons who had never been clients, and or neighbors who had never done business with
21   FREED.
22              22 .    Some of the alleged clients attended seminars but never became clients. In one instance,
23   the clerk for North County Judge Nugent was listed as a client, however he was never a FREED client
24   and has so indicated to Kelsall and Kelsall Legal Solutions PC ("KLS").
25              23.     Per the California Rules of Professional Conduct, FREED was obligated to inform his
26   clients of the sale of his practice to Kelsall and KLS.
27              24.     The AGREEMENT provides the following provision in Section 3(k)(iv - v) :

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 1            1v. Seller is to send a letter to client(s) infonning them of the new association with
 2            Buyer ....
 3            v. After ninety (90) days, in compliance with State Bar Rules, Seller shall send a letter
 4            informing all client(s) of Seller' s retirement and retention of files in Buyer' s Kelsall
 5            Legal Solutions name (i.e. transfer of client files) . Seller is to pay cost of the first
 6            mailing. Buyer shall pay the cost of a second mailing to all client(s).
 7          25.     FREED intentionally mailed the letters info1ming his alleged clients of the sale to Kelsall
 8   and KLS via "bulk mail" and in doing so FREED knew that Kelsall and KLS would not receive "returned
 9   mail," whereby "reh1rned mail" consists of parcels with incorrect addresses, which would in turn indicate
10   that the mailing list provided by FREED was significantly misrepresented.
11          26.     FREED intentionally used "bulk mail" so that Kelsall and KLS could not dete1mine the
12   accurate number of FREED clients with correct mailing addresses.
13          27.     When Kelsall and KLS used "First Class Mail," after the purported transaction closed, to
14   introduce himself to the FREED clients, Kelsall and KLS discovered the large discrepancy in the number
15   of clients that was represented to him by FREED because of the large number of returned mail items
16   received by Kelsall and KLS, in large pmi due to the over Seven Hundred (700) bad address provided by
17   FREED.
18          28.     FREED relayed to Kelsall that FREED held "trust seminars" in which he would advise the
19   public in how to obtain Trusts and used those "seminars" to gather clients.
20          29.     FREED did not disclose, at any time, to Kelsall that FREED was offering lifetime services
21   for a flat fee to the attendees of the "seminar." This fact only came to light after Kelsall started meeting
22   with former FREED clients. It took over a year for Kelsall to discover the fraudulent misrepresentations
23   FREED made about his client list.
24          30.     The former FREED clients consistently told Kelsall that FREED told them that if they paid
25   a little more now for their trust services there would never be any other charges in the future to change,
26   update, modify, or administer their trust.
27

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 1           31.    The alleged FREED clients from the "seminars" repeated the same story over and over
 2   again about how they were solicited with the promise that they would never again have to pay for any
 3   estate planning services, ever.
 4           32.    This false representation by FREED at the "seminars" was never disclosed to Kelsall and
 5   KLS .
 6           33.    FREED represented to Kelsall that he had "signed Legal Service Agreements" from all the
 7   attendees of the "seminars." Upon an exhaustive review of the files FREED transfened to Kelsall and
 8   KLS after the AGREEMENT was executed, Kelsall and KLS did not find any Legal Service Agreements
 9   between FREED and any attendee of alleged "seminars."
10           34.    Not only did FREED ' s representation not comply with California law, but it was also
11   intentionally misleading and designed to induce Kelsall and KLS to change his position and pay money
12   for a law practice that was falsely overvalued and w01ihless.
13           35.    Kelsall and KLS finally received the FREED Client List once the AGREEMENT was
14   executed. Previously FREED would not provide his client list, claiming that it was "attorney client
15   privilege."
16           36.    FREED maintained this position so that Kelsall and KLS could not determine the
17   inaccuracy of the FREED client list and or FREED ' s misrepresentation to clients.
18           37.    FREED intentionally hindered Kelsall's and KLS' good faith attempt to verify the true
19   facts related to FREED ' S law practice by not providing the FREED client list prior to the execution of the
20   AGREEMENT.
21           38.    FREED clients would regularly call or come into the office seeking revisions to their Trusts
22   and when Kelsall presented them with a request for payment for his services, they inf01med him that
23   FREED promised lifetime services in exchange for the flat free they paid at the "seminar" when they
24   signed their trust document or thereafter and they expected services to be done for free.
25           39.    On one occasion, former FREED clients made an appointment in the Temecula, CA office

26   and then drove from Tucson, AZ and stayed in a hotel in order to get their trust updated for free.

27           40.    The AGREEMENT has the following provision in Section 3(m):
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 1            Samuel Kelsall V agrees that in accord with California Rules of Professional Conduct,
 2            Rule 2-300 he is purchasing the law practice of the Seller in good faith and with the
 3            intention of delivering legal services to client(s) of the Seller so acquired and others
 4            in need of legal services; (b) he will honor any fee agreements cunently in existence
 5            between Seller and existing client(s) but reserves the right to negotiate fees with
 6            client( s) of Seller for legal representation commenced after the date of sale; and (c) he
 7            reserves the right to negotiate for reasonable limitations on the ability of the seller to
 8            reenter the practice of law as further defined under te1ms and conditions of this
 9            AGREEMENT.
10          41.     Kelsall and KLS were never info1med that FREED Clients were paiiy to a "lifetime"
11   anangement with FREED to receive free estate planning services for life.
12          42.     Kelsall and KLS were not informed by FREED that the FREED clients expected free
13   updates and amendments to their trusts. If FREED had told the truth, Kelsall and KLS would not have
14   ente1iained purchasing FREED'S law practice.
15          43.     If Kelsall and KLS had known that FREED had made such representations, they would
16   never have agreed to purchase FREED'S law practice for $200,000 because the false representation by
17   FREED to the clients made the prospect of future services to the FREED clients wmihless.
18          44.     FREED received payments from the "seminar" attendees but never completed the work
19   for which he was paid for. This fact was also not disclosed to Kelsall and KLS. The clients for whom
20   services were promised, but never completed, also expected their trusts to be completed for the price paid,
21   years earlier or for free when FREED collected their money and did not finish their trusts.
22          45 .    On or around October 2018, Kelsall met for the first time with Mr. Thompson, a fo1mer
23   FREED client that paid FREED for the competition of a Trust package. Mr. Thompson was a "seminar"
24   attendee that paid FREED for complete a Trust package. MR. Thompson stated to Kelsall that he met
25   with Freed at the Building after the "Trust Seminar" and believed that FREED had completed Mr.
26   Thompson's Trust. After meeting with Mr. Thompson, Kelsall discovered that FREED never finished
27   work on Mr. Thompson's Trust package, even though he had collected full payment. Kelsall only found
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 1   what appeared to be incomplete drafts of a trust and no executed documents. Kelsall had to complete Mr.
 2   Thompson' s Trust for a substantial discount.      This is but one example where Kelsall lost money
 3   completing Trust services for Freed clients, which would not have occuned but for the misrepresentations
 4   and omissions of Freed.
 5          46.     After the sale of FREED'S law practice to Kelsall and KLS finalized, numerous FREED
 6   clients that had already paid for services requested that Kelsall and KLS complete the services for free.
 7          47.     FREED clients are now contacting Kelsall and KLS to complete the work that FREED
 8   promised to do for them and expecting Kelsall and KLS to complete the work for no additional cost or for
 9   the fee that FREED originally promised years earlier, minus any deposits that they paid FREED.
10          48 .    The AGREEMENT has the following provision in Section 8(h) :
11            Seller' s services to client(s) and all components thereof have been of a professional
12            quality and, no claims have been filed against Seller by any client to date. Seller shall
13            provide Buyer with access to all information related to all claims including all
14            demands that relate in any way to any allegation whatsoever, as requested by Seller.
15          49.     FREED did not disclose to Kelsall and K.LS , at any time, of the incomplete work that he
16   was paid to do by clients.
17          50.     Failure to disclose unfinished legal work for any work FREED had been paid was a
18   material omission. If Kelsall and KLS would have known that FREED collected payments from clients
19   for services but had not performed the work, they would not have agreed to purchase the law practice.
20          51 .    Kelsall and KLS were never provided a copy of the Legal Service Agreements between
21   FREED and those that attended FREED seminars and it is now believed that no legal services agreements
22   existed between FREED and the attendees of the "seminars." Another misrepresentation by Freed was
23   that FREED had legal service agreements with all of the trust clients, which FREED did not have.
24          52.     The AGREEMENT has the following provision in Section 8(i):
25            All advertising, literature, promotional materials or other sales materials used by the

26            Seller have been materially accurate and do not contain any false representations.

27            Seller will provide Buyer with copies of all adve1tising materials used in the past five

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 1               (5) years and title to any intellectual prope1iy rights with respect to such adve11ising
 2               material possessed by Seller shall be transfe1Ted to Buyer.
 3          53.       FREED did not provide the advertising materials to Kelsall and KLS. It is believed that
 4   FREED destroyed the adve11ising materials to conceal facts as alleged herein.
 5          54.       The AGREEMENT has the following provision in Section 8(m):
 6               Existing Relationships. Seller does not know of any plan or intention of any Seller's
 7               employees, material suppliers, or customers to sever relationships or existing contracts
 8               with Seller or to take another action that would adversely affect the business of Seller.
 9               Seller does not have any liability, debt, or any obligation due to, or any contractual or
10               similar relationship, with any of its directors, officers, employees, consultants, or
11               shareholders.
12          55.       The AGREEMENT has the following provision in Section 8(n):
13               Seller's Knowledge and Disclosure. Seller does not know, or have reason to know,
14               of any matters, occunences, or other information that has not been disclosed to Buyer
15               and that would materially and adversely affect the assets purchased by Buyer or its
16               conduct of the business involving such assets. (Emphasis added)
17          56.       This is a materially false statement made by FREED to Kelsall and KLS as of the date of
18   the AGREEMENT.
19          57.       FREED informed Kelsall and KLS of "seminars" that FREED held and showed Kelsall
20   and KLS a map of the greater San Diego County area with push pins that represented the number of
21   seminars held in the different locales. Exhibit A. However, FREED failed to inform Kelsall and KLS of
22   the misrepresentations made to the prospective clients at the FREED "seminars" and that omission was
23   material.
24          58.       FREED induced Kelsall and KLS to purchase the FREED law practice based upon the
25   representations that there were over two thousand (2,000) trust clients as represented by the push pins that
26   were on the map. However, the maps, while impressive at first glance, when counting in detail only
27   represented a small fraction of the clients that FREED represented that he had to Kelsall and KLS.
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                                                  9 - CROSS-COMPLAINT
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 1          59.     FREED also informed Kelsall and KLS that the pushpins also represented all the clients
 2   that FREED had signed legal services agreements with as a result of the seminars.
 3          60.     The AGREEMENT has the following provision in Section 8(p):
 4            In connection with the sale by Seller to Buyer of the goodwill of Seller's practice,
 5            Seller agrees that Seller shall not either directly or indirectly, cany on or engage in
 6            the full time practice of law defined to include recognized practice areas of Wills,
 7            Trusts, Estate Planning and Probate in San Diego County, California and all adjacent
 8            counties for a period of five (5) years from the date of this AGREEMENT.
 9          61.     When Kelsall asked FREED why he was selling the practice, FREED replied that he was
10   retiring from California and moving to Ohio with the intent of practicing only in Ohio. FREED also stated
11   to Kelsall that he had purchased a house, yacht, and a law office building in Ohio, thereby demonstrating
12   his intent of moving to and practicing solely in Ohio. These statements were false.
13          62.     It is believed that FREED is still practicing law in the greater San Diego County.
14          63.     On October 1, 2018, KLS and WJF Corp entered into a "Promiss01y Note" associated for
15   the sale ofFREED'S legal practice. On October 17, 2018, 815 Civic Center Drive LTD ("815CC") and
16   Freed enter into a "Perfo1mance Agreement," whereby Kelsall provides a "Personal Guarantee" for the
17   performance of 815CC (hereinafter collectively the "Promissory Note").
18          64.     Prior to the AGREEMENT and Promiss01y Note finalizing, FREED represented to
19   CROSS-PLAINTIFFS that CROSS-PLAINTIFFS could use the adjacent building to 815 Civic Center as
20   storage for the FREED Client files.
21          65.     FREED showed the adjacent building to CROSS-PLAINTIFFS in an attempt to impress
22   and induce CROSS-PLAINTIFFS into purchasing the BUILDING with the FREED'S law practice.
23          66.     The AGREEMENT has the following provision in Section 3(1)(j):
24            Seller shall retain all of Seller's client files in the building or in their current location
25            pending transfer of the Practice and files to Buyer upon closing hereof and consent of
26            the client(s) or completion of the State Bar Procedure for same.
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 1           67.     Sho1tly after the AGREEMENT was finalized , FREED informed CROSS-PLAINTIFFS
 2    that the adjacent building was sold and that CROSS-PLAINTIFFS could not use the building for storage
 3    thereby an additional cost was forced upon CROSS-PLAINTIFFS by FREED.
 4           68.     FREED'S representation that the adjacent building could be used for storage of the client
 5    files was thus false and misleading.
 6           69.     CROSS-PLAINTIFFS was forced to relocate the files to a storage unit, whereby incmTing
 7    storage fees and moving fees.
 8                                           FIRST CAUSE OF ACTION
 9                                                    Fraud
10                                     (Kelsall Against All Cross-Defendants)
11           70.     CROSS-PLAINTIFFS re-alleges and incorporates, by reference, all foregoing paragraphs
12    of the cross-complaint herein.
13           71.     FREED was a pmty to the AGREEMENT and knowingly and intentionally made false
14    representations of material facts to Kelsall in order to deceive and induce Kelsall into entering the
15    AGREEMENT and Promissory Note.
16           72.     FREED represented to Kelsall the material fact that FREED had "3,500 matters including
17    2,000 wills and trust matters." This misrepresentation was made in writing in the AGREEMENT, as wel
18    as, during several meetings between FREED and Kelsall and KLS in the summer of 2018 .
19           73.     The dates where FREED'S misrepresentation was made to Kelsall are the following:
20                         03/26/ 18                                            4:00PM
21                          4/10/18                                             9:00AM
22                          5/29/18                                             3:00PM
23                          7/11/18                                             2:30PM
24                          9/14/18                                             3:30PM
25                          9/25/18                                             4:00PM
26                         12/18/18                                             12:00PM
27                          2/14/19                                             3:00PM
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 1
 2           74.     The number of clients that FREED had in his law practice is a material fact because it was
 3    the leading factor in which Kelsall used in determining to purchase FREED'S law practice.
 4                   FREED had knowledge that this representation of the number of clients he had was false
             75.
 5    because he had first-hand knowledge to the number of client files he actually possessed, which was less
 6    than 1,600.
 7           76.     Because FREED had actual first-hand knowledge to the number of clients he actually had,
 8    FREED had knowledge and was aware that the material fact that he represented to Kelsall was false.
 9           77.    FREED made this factual representation to Kelsall with the intention of deceiving and
10    inducing Kelsall into the AGREEMENT to obtain Two Hundred Thousand Dollars ($200,000.00) from
11    Kelsall for the purchase of FREED'S law practice.
12           78.    FREED's "3,500 matters including 2,000 wills and trust matters" representation to Kelsall
13    and KLS was not true and accurate, and FREED knew that this representation was not true and accurate
14   when he made it to Kelsall and KLS because he had firsthand knowledge of all matters that pe1iained to
15   his law practice.
16           79.    FREED represented that he had conducted the "trust seminars" openly and truthfully to the
17   prospective clients, whom in turn became "Freed Clients."
18           80.    FREED failed to disclose that at each and every semmar he or his representative
19   represented that attendees would receive "lifetime services for free" on estate planning for a flat one-time
20   fee that was to be paid at the seminar.
21           81.    FREED made this misrepresentation to the prospective clients that attended "trust
22   seminars" on the following dates:
23                        April 20, 22, 24, 2004                                   Temecula, CA
24                           June 2, 5, 8, 2004                                     Carlsbad, CA
25                           July 28, 31, 2004                                     Oceanside, CA
26                            August 3, 2004
27                       September 8, 11, 14, 2004                                  Carlsbad, CA
28
                                               12 - CROSS-COMPLAINT
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 1
                    October 13, 16, 19, 2004                                 Temecula, CA
 2
                    December 8, 11, 14, 2004                                 Oceanside, CA
 3
                        January 26, 29, 2005                                 Carlsbad, CA
 4
                          February 1, 2005
 5
                        March 9, 12, 15, 2005                                Temecula. CA
 6
                          April 27, 30, 2005                                 Carlsbad, CA
 7
                            May 3, 2005
 8
                         June 8, 11, 14, 2005                               Oceanside, CA
 9
                         July 6, 9, 12, 2005                                 Temecula, CA
10
                    October 12, 15, 18, 2005                                Oceanside, CA
11
                    December 6, 14, 17, 2005                                Temecula, CA
12
                        February 1, 4, 7, 2006                              Oceanside, CA
13
                           March 29, 2006                                   Temecula, CA
14
                           April 1, 4, 2006
15
                           May 31, 2006                                     Oceanside, CA
16
                           June 3, 6, 2006
17
                        August2,5,8,2006                                    Temecula, CA
18
                    October 10,14, 17, 2006                                 Oceanside, CA
19
                   November 15, 16, 18, 2006                                Temecula, CA
20
                   February 10, 13, 15, 2007                                Oceanside, CA
21
                    March 21, 24, 27, 2007                                  Temecula, CA
22
                        May 8, 12, 15, 2007                                 Oceanside, CA
23
                        July 11 , 14, 17, 2007                              Temecula, CA
24
                   September 11, 15, 18, 2007                               Temecula, CA
25
                    November 1, 3, 6, 2007                                  Temecula, CA
26
                    January 22, 26, 29, 2008                                Oceanside, CA
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                                              13 - CROSS-COMPLAINT
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 1                         March 12, 15, 18, 2008                                     Fallbrook, CA
 2                                                                                    Oceanside, CA
 3
                             May 7, 10, 13, 2008                                      Temecula, CA
 4
 5
             82.      FREED knew at the time of making these statements to the attendees that he did not intend
 6
      to follow through with his promise to them of "lifetime services for free ."
 7
             83.      FREED' S failure to disclose the "lifetime services for free" to Kelsall is a suppression of
 8
      material fact because Kelsall would not have agreed to purchase the law practice for the AGREEMENT'S
 9
      specified purchase price ifhe had known he would be expected to provide services to all these clients with
10    no monetary benefit to himself. It is against logic that a person would expend funds to purchase a
11
     business/clients and then do work for free for the rest of time.
12           84.      This misrepresentation by FREED or his ostensible agent has resulted m numerous
13   requests for "free legal services" to be provided by Kelsall and the absence of good will.
14           85.      Since FREED personally made the "lifetime services" representations to the "seminar"
15   attendees or was present when his representative made the "lifetime services" representations to the
16   "seminar" attendees, FREED had knowledge of this material fact and intentionally suppressed the fact in
17   order to deceive and induce Kelsall into the AGREEMENT.
18           86.     FREED was aware that his ostensible agent was making false representations to the
19   attendees of the "trust seminars" and yet did nothing to stop it. In or about 2005 , FREED reminded his
20   agent that the continuous misrepresentations impact FREED from a liability and ethical standpoint. That
21   representation demonstrates FREED'S scienter and knowledge of the illicit and unethical solicitation of
22   prospective clients that was not disclosed to Kelsall. The facts alleged above demonstrates the scienter of
23   William Freed.
24           87.     FREED failed to disclose to Kelsall that numerous FREED clients that had already paid
25   for services, without formal legal service agreements, had yet to receive the services for which they had
26   already paid. FREED pocketed that money for his own monetary benefit with no intent to actually provide
27   those services to the clients.
28
                                               14 - CROSS-COMPLAINT
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 1            88.    This resulted in numerous requests for Kelsall to subsequently complete the unfinished
 2    estate planning for FREED clients for free or at a reduced rate, based on FREED' s representations during
 3    the "seminars". FREED failed to disclose to Kelsall the ethical violations in the solicitation of prospective
 4    clients on the dates set f01ih in the paragraphs above.
 5            89.    This is a suppression of yet another material fact because Kelsall is now forced to handle
 6    requests for free legal services from FREED clients, which in turn results in the loss of good will and
 7    promise of future legal services or providing legal services at a greatly reduced rate.
 8           90.     FREED suppressed the fact that he only had approximately 1,600 clients by not disclosing
 9    his client list until after the AGREEMENT was executed. Moreover, FREED fmiher suppressed this fact
10    by intentionally using "bulk mail" service, which does not provide the returned mail items, thereby fmiher
11    suppressing the number of incorrect addresses that FREED supplied to Kelsall.
12           91.     FREED promised Kelsall that FREED client files could be stored in the building adjacent
13    to 815 Civic Center, which was owned by the Walwick family ("WAL WICK BUILDING"). FREED
14    made this promise without the intention of performing the promise because he did not have the authority
15    to make such a promise. Consequently, Kelsall were forced to remove all FREED client files from the
16    adjacent building on or around February or March of 2019, and expending considerable money to do so.
17    Kelsall continues to incur fees to store the FREED client files at an off-site storage facility.
18           92.     Kelsall justifiably relied on FREED'S representation that FREED had "3,500 matters
19    including 2,000 wills and trust matters" when Kelsall agreed to purchase FREED'S practice. Moreover,
20    Kelsalljustifiably relied on FREED'S representation when they agreed to purchase the BUILDING.
21           93.     FREED'S representation that FREED had "3,500 matters including 2,000 wills and trust
22    matters" to Kelsall was made with the intention of deceiving and inducing Kelsall into the AGREEMENT
23    and Promiss01y Note to obtain Nine Hundred Thousand Dollars ($900,000.00) from Kelsall for the
24    purchase of the BUILDING.
25           94.     FREED represented to Kelsall that the purchase of the BUILDING was imperative to the
26    viability of the law firm, since a large building is necessary to handle a large number of clients. This is a
27    material misrepresentation because FREED knew that the number of clients his law fom represented was
28
                                                 15 - CROSS-COMPLAINT
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 1    vastly lower than the "3,500 matters including 2,000 wills and trust matters" that he represented, therefore
 2    the purchase of BUILDING was not at all imperative to the viability of the law firm .
 3           95.        FREED also represented to Kelsall that the purchase of the BUILDING, in addition to the
 4    law practice, would generate more business for Kelsall because the FREED clients already know the
 5    BUILDING. Moreover, FREED represented to Kelsall that FREED ' S "practice had been in the same
 6    place since 1954, so the BUILDING needs to be pmi of the deal," so FREED clients are comfo1iable
 7    returning to same location. This is a material misrepresentation of material facts because FREED had
 8    knowledge that his client list contained people that had never been to BUILDING or, in fact, heard of
 9    FREED.
10           96.        FREED made the false representations to Kelsall with the intent to deceive and induce
11    Kelsall into purchasing the BUILDING in addition to FREED'S law practice.
12           97.        Had Kelsall been aware of the actual number of FREED clients, Kelsall would not have
13    purchased the BUILDING.
14           98.        As a result of FREED'S false representation, Kelsall have sustained monetm·y damages
                    I


15    because Kelsall have lost clients that they were led to believe existed and have lost trust administrations
16    and the good will of clients.
17           99 .       Kelsall has also lost the prospect of future services to FREED clients because the false
18    representation by FREED to the clients made the prospect of future services to the FREED clients
19    wo1ihless, since FREED clients believed that they would get all future services for free.
20            100.      Kelsall has been damaged in the amount paid to FREED, loss of business, loss ofFREED
21    clients that did not sign up for services, extra costs for storage of FREED client files, extra cost for cleanup
22    and moving of FREED client files, and other compensatory damages in an amount within the jurisdiction
23    of this comi to be proven at the time of trial.
24            101.      FREED'S conduct constitutes conduct that is oppressive, fraudulent, and/or malicious,

25    thereby entitling Kelsall to punitive damages m1der Civil Code 3294.
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27
28
                                                 16 - CROSS-COMPLAINT
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 1                                       SECOND CAUSE OF ACTION
 2                                        Intentional Misrepresentation
 3           102.    CROSS-PLAINTIFF re-alleges and incorporates, by reference, all foregoing paragraphs
 4    of the cross-complaint herein.
 5           103.    FREED purposefully and knowingly made false representations and misrepresentations to
 6    CROSS-PLAINTIFF regarding the actual number of FREED clients. Those false representations were
 7    made or alleged and set fo1ih in the AGREEMENT and Promissory Note.
 8           104.    FREED falsely represented to CROSS-PLAINTIFF that FREED had over 3,500 clients
 9    including 2,000 wills and trust clients. This false representation was made on several occasions in 2018,
10    in order to induce CROSS-PLAINTIFFS into changing his position and paying over Thi1iy Thousand
11    Dollars ($30,000.00) to FREED. In fact, CROSS-PLAINTIFF has discovered that FREED had less than
12    1,600 clients. This was determined by the number of returned mail and correspondence from people that
13    stated they were never FREED clients or had never even heard of FREED. FREED was aware of this fact
14    because he had firsthand knowledge of the client files.
15           105.    FREED's false representation regarding the number of FREED clients also was
16    intentionally made to induce CROSS-PLAINTIFF into purchasing BUILDING for Nine Hundred
17    Thousand Dollars ($900,000.00) so that FREED could obtain over Six Hundred Thousand Dollars
18    ($600,000.00) to purchase an office building in Ohio.
19           106.    The FREED client files, which were provided to CROSS-PLAINTIFF after the
20    AGREEMENT was executed, consisted of files that contained outdated and or incorrect inf01mation of
21    alleged client(s). FREED was aware of this fact because he had firsthand knowledge of the client files.
22           107.    FREED intentionally made these false representations in order to make CROSS-
23    PLAINTIFFS believe that FREED'S practice had a larger number of clients and that the business had
24    more value than truly existed, to induce CROSS-PLAINTIFFS to purchase his practice and building.
25           108.    FREED intended for CROSS-PLAINTIFFS to rely on his false representations so that

26    CROSS-PLAINTIFFS would purchase FREED'S legal practice and BUILDING so that he could realize

27    over $600,000.00 in cash to fund the purchase of another office building in Ohio.
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                                               17 - CROSS-COMPLAINT
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 1            109.       CROSS-PLAINTIFFS justifiably relied on FREED'S false representation when they
 2    decided on purchasing FREED'S legal practice. Moreover, CROSS-PLAINTIFFS never intended to
 3    purchase the BUILDING. However, because FREED falsely represented the size of the practice, CROSS-
 4    PLAINTIFFS again, to their detriment, relied on the false representations and were induced into
 5    purchasing the BUILDING, whereby changing their position to their detriment.
 6            110.       As a result ofFREED'S false representations, CROSS-PLAINTIFF has incurred monetary
 7    damages in the form of loss of One Hundred Seventy Thousand Three Hundred Twenty-Three Dollars
 8    ($170,323.00) paid to FREED and the loss of clients. These losses include a One Hundred Thousand
 9    Dollar ($100,000.00) down payment on the BUILDING; a Twenty Thousand Dollar ($20,000.00) down
10    payment on FREED'S law practice; a Four Thousand Dollar ($4,000.00) payment to FREED for the
11    purchase of the law practice; Fomieen Thousand Eight Hundred Twenty-Three Dollars ($14,823.00) in
12    monthly payments to FREED for the purchase of the law practice; Thi1iy-One Thousand Five Hundred
13    Dollar ($31,500.00) in monthly payments for the loan on the BUILDING from November of 2018 through
14    the current date, at the amount of One Thousand Five Hundred Dollars ($1,500.00) per month.
15            111.       CROSS-PLAINTIFF's legal reliance on FREED'S representations was a substantial factor
16    in causing their haim because CROSS-PLAINTIFFS would not have purchased FREED'S law practice
17    and BUILDING had they known the actual number of FREED clients and the truth about the legal
18    practice.
19            112.       FREED'S conduct constitutes conduct that is oppressive, fraudulent, and/or malicious,
20    thereby entitling CROSS-PLAINTIFFS to punitive damages under Civil Code 3294.
21            113. · CROSS-PLAINTIFFS therefore requests punitive and exemplary damages in an amount
22    proven at trial.
23    II
24    II
25    II
26    //
27    II
28
                                                  18 - CROSS-COMPLAINT
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 1                                         THIRD CAUSE OF ACTION
 2                                         Negligent Misrepresentation
 3          114.    CROSS-PLAINTIFFS re-alleges and incorporates, by reference, all foregoing paragraphs
 4   of the cross-complaint herein.
 5          115.    CROSS-PLAINTIFF alleges that FREED negligently made false representations and
 6 misrepresentations via false information regarding the actual number of FREED clients. Those false
 7 representations were made or alleged and set f01ih in the AGREEMENT.
 8          116.    FREED represented to CROSS-PLAINTIFFS that FREED had 3,500 clients of which
 9   2,000 dealt with wills and trust matters in order to induce CROSS-PLAINTIFFS into changing their
10   position and paying Thi1iy-Eight Thousand Eight Hundred Twenty-Seven Dollars ($38,827.00) to
11   FREED for the purchase of the law practice. Furthe1more, because FREED falsely represented the size
12   of the practice, FREED induced CROSS-PLAINTIFF into purchase the BUILDING for Nine Hundred
13   Thousand Dollars ($900,000.00) in order to adequately handle the business, and an additional Thi1iy-One
14   Thousand Five Hundred Dollars ($31,500.00) in monthly payments from November of 2018 through the
15   cunent date, as set forth in the paragraphs above.
16          11 7.   FREED' S representations were not true because the client files that were turned over to
17   CROSS-PLAINTIFFS after the AGREEMENT was executed did not contain the number of files that
18   FREED represented. This was determined by the number of returned mail and correspondence from
19   people that stated they were never FREED clients or had never even heard of FREED. FREED was aware
20   of this fact because he had firsthand knowledge of the client files.
21          118.    Even though FREED may have honestly believed that there were 3,500 client files, which
22   is highly doubtful because FREED was the sole attorney working and representing his clients and would
23   have firsthand knowledge to the amount of clients he actually represented, FREED had no reasonable
24   grounds to report to CROSS-PLAINTIFF the number of FREED clients was 3,500.
25          119.    FREED, in his capacity as the seller of the law practice, had a duty of care to CROSS-
26   PLAINTIFF, whom were the buyers of the law practice and BUILDING.
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                                               19 - CROSS-COMPLAINT
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 1          120.    FREED had the duty of care to confom that the number of clients he was representing to
 2   CROSS-PLAINTIFFS was trne and accurate. Fm1he1more, FREED had the duty to confirm that the
 3   contact infmmation he had for his clients was accurate and updated.
 4          121.    Because FREED failed the standard of care that FREED owed to CROSS-PLAINTIFF,
 5   FREED was negligent.
 6          122.    FREED intended CROSS-PLAINTIFF to rely on his false representations so that CROSS-
 7   PLAINTIFFS would purchase FREED'S law practice and BUILDING so that FREED could obtain
 8   $600,000.00 to purchase an office building in Ohio.
 9          123.    CROSS-PLAINTIFF justifiably relied on FREED'S false representation when they
10   decided on purchasing FREED'S legal practice and BUILDING. Moreover, CROSS-PLAINTIFF never
11   intended to purchase the BUILDING. However, because FREED falsely represented the size of the
12   practice, CROSS-PLAINTIFFS again, to their detriment, relied on the false representations and were
13   induced into purchase the BUILDING, whereby changing their position to their detriment.
14          124.    As a result of FREED'S false representation, CROSS-PLAINTIFF has incurred monetary
15   damages in the form of loss of One Hundred Seventy Thousand Three Hundred Twenty-Three Dollars
16   ($170,323.00) paid to FREED and the loss of clients, as set fm1h in the paragraphs above.
17          125.    CROSS-PLAINTIFFS' reliance on FREED'S representation was a substantial factor in
18   causing their harm because CROSS-PLAINTIFF would not have purchased FREED'S law practice and
19   BUILDING had they known the actual number of FREED clients and the truth about the legal practice.
20          126.    FREED'S conduct constitutes conduct that is oppressive, fraudulent, and/or malicious,
21   thereby entitling CROSS-PLAINTIFFS to punitive damages under Civil Code 3294.
22          127.    CROSS-PLAINTIFFS therefore requests exemplary and compensatory damages in an
23   amount proven at trial.
24   II
25   II
26   II
27   II
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                                                20 - CROSS-COMPLAINT
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 1                                          FOURTH CAUSE OF ACTION
 2                                                     Concealment
 3                                      (Kelsall Against All Cross-Defendants)
 4              128.   CROSS-PLAINTIFF re-alleges and incorporates, by reference, all foregoing paragraphs
 5    of the cross-complaint herein.
 6              129.   Kelsall were harmed because FREED concealed material information as it pe1tained to the
 7   actual number of FREED clients and the Legal Service Agreements ("LSA") between FREED and his
 8   clients.
 9              130.   FREED and Kelsall entered into and executed AGREEMENT on August 16, 2018,
10   whereby FREED intentionally failed to disclose the actual number of FREED clients to Kelsall.
11   Fmthe1more, FREED intentionally failed to disclose to Kelsall that FREED had entered into "lifetime
12   agreements" with most of his clients for the work that FREED had perfmmed.
13              131.   FREED intentionally failed to disclose that he had collected legal fees from clients but not
14   had performed the work that he had been contracted to perform, and that he had no intention of doing so.
15              132.   FREED disclosed to Kelsall that he held "wills and trust seminars" all over San Diego
16   County and other surrounding counties but intentionally failed to disclose that FREED promised the
17   attendees of these "seminars" free lifetime revisions to their wills and trusts if they paid an extra fee that
18   FREED collected at these seminars.
19              133.   At these "wills and trust seminars," FREED or his representative and ostensible agent made
20   misrepresentations to prospective clients. The misrepresentations at the "seminars" were very similar
21   because they came from FREED and his hired promoters. They all used the same script.
22              134.   FREED was aware that his ostensible agent was making false representations to the

23   attendees of the trust seminars and yet did nothing to stop it. In one instance, FREED reminded his agent

24   that the continuous misrepresentations impact FREED from a liability and ethical standpoint.
25              135.   The basic misrepresentation was that if the prospective clients paid a little more than other

26   attorneys were charging for a trust package, then the prospective client would never again have to pay for

27   anything related to their trust including amendments, modifications, or administration.
28
                                                 21 - CROSS-COMPLAINT
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 1           136.    The prospective clients were led to believe by FREED and his hired promoters, that they
 2   would never have to pay for updates, changes or modifications to their trust package and all trust work
 3   associated thereto would be done for free for life.
 4           137.    FREED also sent prospective clients Trust Package Prices, which stated if the prospective
 5   clients purchased a trust package, then they would receive unlimited phone consultations.
 6           13 8.   FREED concealed these material facts from Kelsall. If Kelsall would have known these
 7   material facts, they would have changed their position and would not have purchased the practice. It is
 8   illogical that a person would expend substantial amount of money to purchase a practice on the promise
 9   of future business, and then provide free work to clients for the rest of their lives, with no monetary benefit
10   to himself.
11           139.    If Kelsall had known about the manner and methodology of the deceptive business
12   practices of FREED, they would not have proceeded with the transaction.
13           140.    In the Fall of 2018, after the AGREEMENT was executed, Kelsall met in person with
14   FREED, after Kelsall had met with one (1) ofFREED' S clients. The FREED clients that Kelsall had met
15   with were a husband and wife couple that indicated to Kelsall that FREED had told them that "all changes
16   to their trust were free for life."
17           141.    When Kelsall raised this issue with FREED during their meeting in 2018, FREED
18   continued to misrepresent facts and conceal the truth from Kelsall by stating that FREED "had only told
19   them that phone calls were free regarding any matter related to their trust." FREED went on to state to
20   Kelsall that the reason phone calls were free for clients he performed trust work for, was so that they
21   would come back to have changes made to their trusts.
22           142.    While FREED' S statement sounds plausible, it was another instance of concealment by
23   FREED to induce Kelsall into providing funds to FREED by making payments to FREED, which Kelsall
24   did in good faith, not knowing that he had been defrauded by concealment.
25           143 .   At this point, Kelsall had only experienced this singular instance ofFREED's concealment,
26   so Kelsall still were not aware that this basic scheme for selling trusts had been utilized by FREED at all
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28
                                                22 - CROSS-COMPLAINT
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 1    his trust seminars, with all of FREED ' s clients, and that all FREED clients expected "free legal services"
 2    from FREED for life.
 3            144.   As and example, around November 2018, Kelsall met for the first time with Mr.
 4    Thompson, a former FREED client that paid FREED for the competition of a Trust package. Mr.
 5    Thompson was a "seminar" attendee that paid FREED for complete a Trust package. MR. Thompson
 6    stated to Kelsall that he met with Freed at the Building after the "Trust Seminar" and believed that FREED
 7    had completed Mr. Thompson's Trust. After meeting with Mr. Thompson, Kelsall discovered that
 8    FREED never finished work on Mr. Thompson's Trust package, even though he had collected full
 9    payment. Kelsall only found what appeared to be incomplete drafts of a trust and no executed documents.
10    Kelsall completed Mr. Thompson' s Trust for a substantial discount.
11            145.   FREED failed to disclose the truth about the "seminar" at the detriment to the law practice,
12    the law practice's value, the law practice's good will, and did so to dupe Kelsall into purchasing the law
13   practice and paying substantial funds to FREED to be proved at trial.
14            146.   One (1) huge detriment to the law practice was the outright refusal of clients to pay for
15    amendments and updates to their trusts because FREED had stated to clients that there would be "no
16    charges" for any additional changes.
17            147.   FREED stated to clients that there would be "no charge" for trust administrations. Thus,
18    when a spouse died, the surviving spouse that was a FREED client, expected Kelsall to provide "free"
19    trust administration services.
20            148.   Another detriment to the law practice was the refusal of FREED clients to accept and sign
21    up for the film's "continuing client program." Kelsall had disclosed the firm' s "continuing client
22    program" to FREED and FREED indicated that it was a good idea, even stating that he had wished he had
23    thought of it. Fmihermore, FREED stated that he believed a majority of the FREED clients would sign
24    up for the program. However, in fact, FREED clients did not sign up for the program.
25            149.   At no point did FREED disclose this inf01mation to Kelsall or disclose any documentation,
26    such as an LSA, that illustrated FREED'S representations to his alleged clients.
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                                               23 - CROSS-COMPLAINT
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 1           15 0.   Kelsall could not have discovered the LS As or FREED ' S representation between FREED
 2    and the seminar attendees, save for FREED' s disclosure.
 3           151 .   FREED prevented Kelsall from discovering that Kelsall would have to perform free work
 4   that FREED had promised to his clients and had been paid for by not providing the FREED client files
 5    until after the AGREEMENT was executed.
 6           152.    Kelsall had no knowledge of the lifetime LSAs between FREED and seminar attendees
 7   and could not have discovered same without disclosure by FREED. Kelsall only became aware of the
 8    lifetime LSAs once fmmer FREED clients staiied to come into CROSS-PLAINTIFFS' office and request
 9   amendments to their wills and or trusts and expecting it to be done for free, based on misrepresentations
10   at the "seminars" they attended.
11           153.    FREED intentionally concealed the aforementioned material facts because he intended to
12   deceive Kelsall and quickly rid himself of his practice, whereby Kelsall would be induced into purchasing
13   FREED'S practice and have to deal with all future clients' "free" requests.
14           154.    But for FREED'S intentional concealment of material fact, Kelsall would not have
15   purchased FREED' S firm.
16           155.    As a result of FREED ' S intentional concealment, Kelsall have incuned damages in the
17   fo1m of the amounts paid to FREED, lost revenue from clients he believed existed and lost revenue for
18   work that he had to perfo1m for former FREED clients.
19           156.    In addition, due to FREED's deceptive practices, when FREED clients are subsequently
20   informed during their meetings with Kelsall that they will be charged for legal services related to their
21   trust administration, they are offended, and decline additional representation.
22           157.    These undisclosed facts make the "good will" of the law firm non-existent and change it
23   to "bad will" because the clients come to realize that they were cheated by FREED, whereby they then
24   associate such "bad will" with Kelsall . Thus, Kelsall were defrauded into purchasing a law firm that had
25   very little to no "good will" at all.
26           158.    FREED'S concealment is the substantial factor in causing Kelsall ' s damages because
27   Kelsall would not have purchased FREED ' S firm had Kelsall been privy to the full facts.
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 1           159.    If Kelsall had known about the misrepresentations to the clients by FREED, they would
 2   not have proceeded with either transaction for the clients nor the physical building.
 3           160.    Moreover, FREED promised Kelsall that they could store FREED client files in the
 4   WAL WICK BUILDING which is adjacent to BUILDING. FREED intentionally concealed the fact that
 5   WAL WICK BUILDING was actively marketed for sale.
 6           161.    On or about January or February of 2019, the WAL WICK BUILDING was sold and
 7   Kelsall was forced to move all of the client files from the WAL WICK BUILDING into an offsite storage
 8   unit, expending considerable money to do so.
 9           162.    As a result, Kelsall incurred monetary damages because they had to find new storage
10   facilities and pay for the files to be moved.
11           163.    If Kelsall had known about the misrepresentations about the storage building by FREED,
12   he would not have proceeded with either transaction for the clients nor the physical building.
13           164.    Since FREED was involved with the Walwick family, FREED had personal knowledge
14   that the WAL WICK BUILDING was going to be sold and intentionally concealed that fact from Kelsall
15   at the time of the AGREEMENT execution.
16           165.    FREED'S conduct constitutes conduct that is oppressive, fraudulent, and/or malicious,
17   thereby entitling Kelsall to punitive damages under Civil Code 3294.
18           166.    Kelsall therefore requests punitive and exemplary damages in an amount proven at trial.
19                                         FIFTH CAUSE OF ACTION
20         (Unlawful and Unfair Business Practices: Business & Professions Code§§ 17200 et seq.)
21           167.    CROSS-PLAINTIFF re-alleges and incorporates, by reference, all foregoing paragraphs
22   of the cross-complaint herein.
23           168 .   By committing the alleged acts and or omissions in this Cross-Complaint, FREED engaged
24   in unlawful, unfair, and or fraudulent business practices within the meaning of California Business &
25   Professions Code § 17200 et seq.
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 1           169.   CROSS-PLAINTIFF alleges that, as a result ofFREED ' S alleged acts and or omissions as
 2   described in this Cross-Complaint, FREED unlawfully and unfairly caused monetary damage to CROSS-
 3   PLAINTIFF because of his unlawful and or unfair business practices.
 4          170.    A request for declaratory relief and restitution is specifically authorized by California
 5   Business & Professions Code § 17200 et seq. Thus, CROSS-PLAINTIFF seeks all costs related to the
 6   rescission of the AGREEMENT and Promissory Note and lost profits due to the loss of clients, as a result
 7   of FREED'S alleged acts and/or omissions as described in this Cross-Complaint. CROSS-PLAINTIFF
 8   also seeks attorneys' fees under Civil Code §1021.5, costs of suit, and interest.
 9          171.    As the direct and proximate result of FREED'S fraud, CROSS-PLAINTIFF have been
10   damaged in the form of lost wages and profits from the loss of clients, and in the fo1m of money already
11   expended to purchase the practice and the BUILDING, in an amount to be proved at trial.
12          172.    CROSS-PLAINTIFF therefore requests punitive and exemplary damages in an amount to
13   be proven at trial, under Civil Code 3294.
14          173 .   CROSS-PLAINTIFFS therefore requests damages for the injuries alleged above in a sum
15   not less than the jurisdictional minimum of this com1, according to proof at trial.
16                                        SIXTH CAUSE OF ACTION
17                           (Breach of Covenant of Good Faith and Fair Dealing)
18          174.    CROSS-PLAINTIFF re-alleges and incorporates, by reference, all foregoing paragraphs of
19   the cross-complaint herein.
20           175.   CROSS-PLAINTIFF's contracts with FREED constitutes a valid, enforceable, and binding
21   contract. Under their AGREEMENT and Promissory Note, CROSS-PLAINTIFF were to purchase
22   FREED'S fam, which included 3,500 client files, which included 2,000 wills and trust matters, and
23   BUILDING. CROSS-PLAINTIFF would honor any agreement that FREED had with existing clients and
24   had the right to negotiate new terms with new clients.
25           176.   The contracts contained an implied covenant of good faith and fair dealing, whereby

26   FREED would provide a true and accurate number for client files. Fmthermore, FREED would provide

27   true and accurate LSAs between FREED and existing FREED clients.
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 1           177.    Additionally, FREED expressed to CROSS-PLAINTIFF that FREED was no longer going
 2   to practice law in California.
 3           178.    CROSS-PLAINTIFF performed all their obligations under the contracts with FREED.
 4   FREED was paid by CROSS-PLAINTIFF pursuant to the agreement in the amount of One Hundred
 5   Thirty-Eight Thousand Eight Hundred Twenty-Three Dollars ($138,823 .00), as set forth in the paragraphs
 6   above. FREED has violated the covenant of good faith and fair dealing by taking actions calculated to
 7   prohibit and deprive CROSS-PLAINTIFF of the benefits for which he bargained for in entering into a
 8   written agreement with FREED regarding the purchase of FREED'S practice, as explained in detail
 9   throughout this Cross-Complaint. Such actions constitute a breach of FREED'S contractual obligations
10   to CROSS-PLAINTIFF in that FREED refused to perfo1m his obligations to CROSS-PLAINTIFF for the
11   purpose of inducing CROSS-PLAINTIFFS into purchasing FREED'S practice.
12           179.    As a direct and proximate result of this conduct, CROSS-PLAINTIFF have suffered lost
13   wages, lost legal fees, lost income, and lost profits as a result of lost clients and FREED clients that never
14   existed in addition to money expended in purchasing the practice and BUILDING. CROSS-PLAINTIFF
15   are entitled to their lost revenue as a result of FREED' S breaches in the amount set fmth below and for
16   the costs and fees incuned in prosecuting this action.
17           180.    As a direct and proximate result ofFREED'S conduct, CROSS-PLAINTIFF suffered loss
18   of wages and lost profits from the loss of clients and FREED clients that never existed in addition to
19   money expended in purchasing the practice and BUILDING in the amount of not less than the
20   jurisdictional limit of this court to be proved at trial.
21           181 .   CROSS-PLAINTIFF therefore request damages for the injuries alleged above in a sum not
22    less than the jurisdictional minimum of this comt, according to proof at trial.
23                                         SEVENTH CAUSE OF ACTION
24                             (Interference with Prospective Economic Advantage)
25           182.    CROSS-PLAINTIFFS re-alleges and incorporates, by reference, all foregoing paragraphs

26    of the cross-complaint herein.
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                                                 27 - CROSS-COMPLAINT
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 1           183.     Kelsall have an economic advantage in the form that they are one of the prominent lawyers
 2    in the area that primarily deal with wills and trusts. Had FREED perfonned his duties as expected and
 3    pursuant to the AGREEMENT, Kelsall would have been collecting revenue from their clients and former
 4    FREED clients since at least 2018.
 5           184.     FREED's fraud on Kelsall interferes with the economic advantage they already enjoyed as
 6    an attorney in San Diego and Orange County, and dive1ied their resources to a legal business that interfered
 7    with the existing business due to Kelsall ' s attempt to handle all of the issues FREED created.
 8           185.     FREED knew that Kelsall intended to provide legal services for wills and trust matters
 9   because that was the main attraction of Kelsall to FREED'S practice. Kelsall specifically stated to FREED
10   that the purpose of purchasing the practice and BULIDING was to provide legal services for wills and
11   trust matters.
12           186.     FREED, being an intelligent and competent human being and practicing attorney, knew or
13   should have known that as a result of FREED ' s "seminars", misrepresentations and deceptive actions,
14   Kelsall would subsequently not be able to receive profits from fo1mer FREED clients that had already
15   paid FREED a high fee for lifetime services.
16           187.     As a direct result of FREED' S negligent actions and omissions, Kelsall have been damaged
17    in an amount according to proof. For instance, and not in limitation, Kelsall have been damaged in the
18   amount of profit that a client would have paid for wills and trust matters along with any existing "good
19   will". Kelsall have been damaged in that their prospective economic advantage obtained from a
20   relationship with legitimate clients has been harmed because there is now a negative connotation with
21   Kelsall's practice because they cannot honor FREED'S lifetime LSAs.
22           188.     On October 21, 2020, CROSS-PLAINTIFFS received a letter from CROSS-PLAINTIFF's
23   tenant stating that FREED has been collecting rent checks that are rightfully owed to CROSS-
24    PLAINTIFFS since May 10, 2020. FREED'S wrongful collection of the rental income is made with
25   malice and conscious disregard of the rights of CROSS-PLAINTIFS. CROSS-PLAINTIFF are entitled
26    to the return of all rental income collected by FREED with interest.
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                                               28 - CROSS-COMPLAINT
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 1            189.   FREED' S actions were unde1iaken with fraud, malice or oppression, or with a conscious
 2    disregard of the rights of CROSS-PLAINTIFFS, and, therefore, CROSS-PLAINTIFFS are entitled to an
 3    award of exemplary and punitive damages against FREED in an amount according to proof.
 4            190.   As a direct and proximate result of FREED'S actions and omissions, CROSS-
 5    PLAINTIFFS have suffered, and will continue to suffer, substantial damages. CROSS-PLAINTIFF are
 6    entitled to their lost revenue suffered as a consequence of FREED' S conduct and for the loss of wages
 7    and profits due to the loss of clients and non-existent FREED clients, as set fo1ih below and for the costs
 8    and fees incuned in prosecuting this action. Additionally, CROSS-PLAINTIFF are entitled to their lost
 9    money expended in purchasing the practice and BUILDING under false pretenses.
10            191.   As the direct and proximate result of FREED'S actions and om1ss10ns, CROSS-
11    PLAINTIFF suffered damages in the amount of loss of revenue and profits due to the loss of clients and
12    non-existent FREED clients to be proved at trial and in money expended in purchasing the practice and
13    BUILDING.
14            192.   CROSS-PLAINTIFF therefore requests, actual, punitive, and exemplary damages in an
15    amount to be proven at trial.
16            193.   CROSS-PLAINTIFF therefore requests damages for the injuries alleged above in a sum
17    not less than the jurisdictional minimum of this comi, according to proof at trial.
18                                            PRAYER FOR RELIEF
19           WHEREFORE, CROSS-PLAINTIFFS pray for judgment as follows:
20            As to the Fist Cause of Action for Fraud (Kelsall and KLS Against All Cross-Defendants
21            1.     For compensatory damages from work that Kelsall and KLS perfmmed for FREED
22    lients at a discounted rate;
23           2.       For compensatory damages from work that Kelsall and KLS lost as a result ofFREED'S
24    raudulent conduct;
25            3.      For damages from the cost of having to rent storage and the moving cost of moving the
26    REED files to a rental storage unit;
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                                                29 - CROSS-COMPLAINT
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 1           4.         For damages from future work that Kelsall and KLS has lost as a result of loss of good
 2    ill because of FREED' S conduct;
 3            5.        For rescission and or revocation of the Agreement and Promissory Note;
 4           6.         For damages for all amounts of money paid to FREED by CROSS-PLAINTIFFS.
 5           7.         For pre-judgement interest under Civil Code §3287;
 6            8.        For exemplary and punitive damages;
 7           9.         For attorneys ' fees and costs;
 8            10.       For costs of suit incurred herein;
 9            11 .      For such other and fu1iher relief as the comi deems just and proper;
10      As to the Second Cause of Action for Purposefully and Knowingly Making False Misrepresentations
11            12.       For compensatory damages from work that CROSS-PLAINTIFFS performed for FREED
12    clients at a discounted rate;
13            13 .      For compensatory damages from work that CROSS-PLAINTIFFS lost as a result of
14    FREED' S fraudulent conduct;
15            14.       For damages from the cost of having to rent storage and the moving cost of moving the
16    FREED files to a rental storage unit;
17            15 .      For damages from future work that CROSS-PLAINTIFFS has lost as a result of loss of
18    good will because of FREED' S conduct;
19            16.       For rescission and or revocation of the Agreement and Promissory Note;
20            17.       For punitive and exemplary damages;
21            18.       For pre-judgment interest under Civil Code §3287;
22            19.       For attorneys' fees and costs;
23           20.        For costs of suit incurred herein;
24            21.       For such other and fu1iher relief as the comi deems just and proper;
25                   As to the Third Cause of Action for Negligently Making False Misrepresentations
26            22 .      For compensatory damages from work that CROSS-PLAINTIFFS performed for FREED

27    clients at a discounted rate;
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                                                   30 - CROSS-COMPLAINT
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 1           23.     For compensatory damages from work for FREED clients that CROSS-PLAINTIFFS lost
 2   as a result of FREED ' S fraudulent conduct;
 3           24.     For damages from future work that CROSS-PLAINTIFFS has lost as a result of loss of
 4    good will because of FREED'S conduct;
 5           25 .    For rescission and or revocation of the Agreement and Promiss01y Note;
 6           26.     For attorneys' fees and costs;
 7           27.     For costs of suit incurred herein;
 8           28 .    For such other and fu1iher relief as the comi deems just and proper;
 9     As to the Fourth Cause of Action for Concealment (Kelsall and KLS Against All Cross-Defendants)
10           29.     For compensatory damages from work that Kelsall and KLS perfmmed for FREED
11   clients at a discounted rate;
12           30.     For compensatory damages from work that Kelsall and KLS lost as a result of FREED'S
13   fraudulent conduct;
14           31.     For damages from the cost of having to rent storage and the moving cost of moving the
15   FREED files to a rental storage unit;
16           32.     For damages from future work that Kelsall and KLS has lost as a result of loss of good
17   will because of FREED' S conduct;
18           33.     For rescission and or revocation of the Agreement and Promissory Note;
19           34.     For pre-judgement interest under Civil Code §3287;
20           35 .    For exemplaiy and punitive damages;
21           36.     For attorneys' fees and costs;
22           37.     For costs of suit incmTed herein;
23           3 8.    For such other and fu1iher relief as the comi deems just and proper;
24                  As to the Fifth Cause of Action for Unlawful and Unfair Business Practices
25           39.     For an Order compelling Defendant to repay all monies paid by CROSS-PLAINTIFFS for

26    the purchase of FREED'S law practice and building (in the fo1m ofrestitution);

27           40.     For issuance of a permanent injunction enjoining Defendant, from continuing to engage in
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                                                31 - CROSS-COMPLAINT
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 1    the unlawful and unfair business practices alleged herein;
 2           41.     For pre-judgment interest under Civil Code §3287;
 3           42.     For attorneys ' fees and costs;
 4           43.     For punitive and exemplary damages;
 5           44.     For costs of suit incurred herein;
 6           45.     For such other and fmiher relief as the comi deems just and proper;
 7            As to the Sixth Cause of Action for Breach of Covenant of Good Faith and Fair Dealing
 8           46.     For an Order compelling Defendant to repay all monies paid by CROSS-PLAINTIFFS
 9   for the purchase ofFREED'S law practice and building (in the form of restitution)
10           47.     For compensatory damages from work that CROSS-PLAINTIFFS performed for FREED
11   clients at a discounted rate;
12           48.     For compensatory damages from work that CROSS-PLAINTIFFS lost as a result of
13   FREED ' S fraudulent conduct;
14           49.     For pre-judgment interest under Civil Code §3287;
15           50.     For attorneys ' fees and costs;
16           51.     For costs of suit incurred herein;
17           52.     For such other and further relief as the comi deems just and proper;
18          As to the Seventh Cause of Action for Interference with Prospective Economic Advantage
19           53.     For an Order compelling FREED to repay all monies paid by CROSS-PLAINTIFF for the
20   purchase ofFREED'S law practice and building (in the form ofrestitution);
21           54.     For an Order compelling FREED to repay all rental income FREED collected from
22   CROSS-PLAINTIFF's tenants;
23           55.     For compensatory damages from work that CROSS-PLAINTIFF perfmmed for FREED
24   clients at a discounted rate;
25           56.     For compensatory damages from work that CROSS-PLAINTIFF lost as a result of

26   FREED'S fraudulent conduct;

27           57.     For pre-judgment interest under Civil Code §3287;
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                                                32 - CROSS-COMPLAINT
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 1         58 .   For punitive and exemplary damages;
 2         59.    For attorneys' fees and costs;
 3         60.    For costs of suit incmTed herein;
 4         61.    For such other and further relief as the comi deems just and proper;
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 7   DATED: November 9, 2023                                      L LEGAL SOLUTIONS PC

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 9                                                              Kelsall V, Esq.
10                                                              for Cross-Plaintiffs

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